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                                                                         4                      IN THE UNITED STATES DISTRICT COURT
                                                                         5                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         6
                                                                         7     IN RE: CATHODE RAY TUBE (CRT)            )   MDL No. 1917
                                                                               ANTITRUST LITIGATION                     )
                                                                         8                                              )   Case No. C-07-5944-SC
                                                                                                                        )
                                                                         9                                              )   ORDER GRANTING PANASONIC
                                                                               This Order Relates To:                   )   DEFENDANTS' ADMINISTRATIVE
                                                                         10                                             )   MOTION TO SEAL DOCUMENTS
United States District Court
                               For the Northern District of California




                                                                                 INDIRECT-PURCHASER ACTIONS             )   PURSUANT TO CIVIL LOCAL
                                                                         11                                             )   RULES 7-11 and 79-5(d)
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                                                                         14
                                                                         15        Defendants Panasonic Corporation, Panasonic Corporation of
                                                                         16   North America, and MT Picture Display Co. Ltd. (collectively,
                                                                         17   "Panasonic Defendants") filed two Administrative Motions to Seal
                                                                         18   Documents Pursuant to Civil Local Rules 7-11 and 79-5(d).          ECF Nos.
                                                                         19   1535 ("Mot. to Seal Errata to Willig Decl."), 1537 ("Mot. to Seal
                                                                         20   Add'l Errata to Willig Decl").      For good cause shown, Panasonic
                                                                         21   Defendants' Motion to Seal is GRANTED.
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                                                                         23        IT IS SO ORDERED.
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                                                                         25        Dated:   January 28
                                                                                                    __, 2013
                                                                         26                                        UNITED STATES DISTRICT JUDGE

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